    Case 1:22-cv-00184-LMM Document 1-1 Filed 01/14/22 Page 1 of 44




Daphne Bell v. The Kroger Co. et al.
State Court of DeKalb County, State of Georgia
Civil Action File Number: 21A03699

Daphne Bell v. The Kroger Co. et al.
USDC, Northern District, Atlanta Division
Civil Action File Number: TBA (Removal # 1:22-mi-99999)




     EXHIBIT A: PETITION FOR REMOVAL



ALL PLEADINGS, PROCESS, AND ORDERS SERVED
         UPON DEFENDANTS IN THE
      STATE COURT OF DEKALB COUNTY,
             STATE OF GEORGIA
      Case 1:22-cv-00184-LMM Document 1-1 Filed 01/14/22 Page 2 of 44



           21A03699
~   No.                                                       STATE COURT OF DEKALB COUNTY
                                                                      GEORGIA, DEKALB COUNTY
     Date Summons Issued and E-Filed

          8/6/2021                                                                 SUMMONS
                                lana Smith

    Deputy Clerk

    Deposit Paid $
                                                                    Daphne Bell


                                                               Plaintiff's name and address

                                                                vs.
    [ ] JURY
                                                                 The Kroger Co., and Tim Brown


                                                               Defendant's name and address

    TO THE ABOVE-NAMED DEFENDANT:

    You are hereby summoned and required to file with the Clerk of State Court, Suite 230, 2nd Floor,
    Administrative Tower, DeKalb County Courthouse, 556 N. McDonough Street, Decatur, Georgia
    30030 and serve upon the plaintifPs attorney, to wit:

    Name      Ramin Kermani-Nejad, Esq.
    Address
                        1718 Peachtree Street NW, Suite 489, Atlanta, GA 30309
    Phone Number          678 202 0494                                       ueorgla tsar INo. 669698

    an ANSWER to the complaint which is herewith served upon you, within thirty (30) days after
    service upon you, exclusive of the day of service. If you fail to do so, judgment by default will be
    taken against you for the relief demanded in the complaint. The answer or other responsive
    pleading can be filed via electronic filing through eFileGA via www.eFileGA.com or, if desired, at the e-filing public
    access terminal in the Clerk's Office at 556 N. McDonough Street, Decatur, Georgia 30030


    Defendant's Attorney                                                 Third Party Attorney

    Address                                                              Address

    Phone No.                               Georgia Bar No.              Phone No.              Georgia Bar No.

                                                     TYPE OF SUIT
    © Personal Injury ❑ Products Liability                              Principal $
    ❑ Contract ❑ Medical Malpractice
    ❑ Legal Malpractice ❑ Product Liability                             Interest $
    ❑ Other
                                                                        Atty Fees $
    Access to the e-filing site and the rules is available at wtivw.dekalbstatecourt.net
    To indicate consent to e-service check the box belovv.
    ®(Plaintiff consents to e-service pursuant to OCGA 9-11-5 (f). The email address for
    service appears in the complaint.

                                                                                            E-file summons1-2016
                                                                                                                                STATE COURT OF
                                                                                                                             DEKALB COUNTY, GA.
                                                                                                                                 8/6/2021 1:52 PM
                                                                                                                                          E-FILED
                                                                                                                                  BY: Siana Smith
     Case 1:22-cv-00184-LMM Document 1-1 Filed 01/14/22 Page 3 of 44




                    IN T)FIE STATE COURT OF DEKALB COUNTY
                                 STATE OF GEORGIA
Daphne Bell,
                               Plaintiff,

V.                                                  CIVRA&UN FILE NO:

The Kroger Co., and Tim Brown.

                               Defendants.
                                                    JURY TRIAL DEMANDED




                                       COlVIPLAINT

        COMES NOW Plaintiff Daphne Bell ("Plainti.ff'), and makes and files this

complaint against Defendants The Kroger Co. and Tim Brown (collectively,

"Defendants") as follows:

                              PARTIES AND JURISDICTION

                                             l.

        Plaintiff Daphne Bell is a resident of the State of Georgia and is subject to the
jurisdiction of this court.
                                             2.
                Defendant The Kroger Co. (hereinafter "Kroger") does extensive

 business in the State of Georgia, including Dekalb County. Service may be made on

 said Defendant by serving its registered agent, to wit: CSC of Cobb County, Inc., 192

 Anderson Street SE, Suite 125, Marietta, GA 30060.

                                             3.
        Defendant The Kroger Co. is subject to the venue and jurisdiction of this Court.




                                                                                               STATE COURT OF
                                                                                            DEKALB COUNTY, GA.
                                                                                                8/6/2021 1:52 PM
                                                                                                         E-FILED
                                                                                                 BY: Siana Smith
          Case 1:22-cv-00184-LMM Document 1-1 Filed 01/14/22 Page 4 of 44


r'



                                                   4

             Defendant Tim Brown is a resident of the State of Georgia, and may be served

     with a copy of the Summons and Complaint at 305 Brookhaven Ave NE, Unit 407,

     Brookhaven, GA 30319 in Dekalb County.

                                                   5.

             Defendant Tim Brown is subject to the venue jurisdiction of this court.

                                                   6.
             Subject matter jurisdiction is proper to the Court as to all Defendants.


                                            BACKGI2®UND~
                                                   7.
             ®n or about July 2, 2021, Plaintiff was an invitee at Kroger's grocery store

     located on 101 Fairview Road, Ellenwood, GA 30294 (hereinafter "the premises"). The

     premises was managed by Defendant Tim Brown, president of Kroger's Atlanta Division.

                                                   8.
             While on the premises, Plaintiff slipped and fell in a puddle of water caused by a
     leaking freezer in the freezer section, causing Plaintiff to fall to the floor; as a result,
     Plaintiff suffered severe injuries (hereinafter "the incident").
                                                   9.
            There were no warning signs on the premises at the time of the incident indicating
     there was a puddle on the floor. Moreover, given the transparent nature of the water, the
     puddle was not obvious to Plaintiff.
                                                   10.
            Defendants had exclusive ownership, possession and control over the premises at
     all times relevant to this litigation. As Kroger's Atlanta Division president, Defendant



                                                       -2-
     Case 1:22-cv-00184-LMM Document 1-1 Filed 01/14/22 Page 5 of 44




Tim Brown was negligent in the inspection, maintenance, operation and/or management
ofthe premises.


        Defendant Kroger is vicariously liable for Defendant Tim Brown's conduct under
the Doctrine of Respondeat Superior and Imputed Liability because, when the incident
occurred, Tim Brown was acting within the scope and course of his employment with
Kroger and with its knowledge and authority.
                                        COiAy1T fl
                                  PREIVIISLS LIASILITY

                                             12.

        Plaintiff realleges and incorporates herein the allegations contained in paragraphs
1 through 11 above as if fully restated.
                                             13.

        Plaintiff was an invitee on the premises at the time of the incident.
                                             14.

        Defendants owed a nondelegable duty of reasonable care in keeping the premises
safe for invitees such as Plaintiff.
                                             15.
        Defendants were negligent in failing to properly inspect the area where the
incident occurred, in failing to remove the hazardous condition, in failing to take
adequate measures to protect invitees from the hazard, and in failing to keep the premises
safe for invitees.
                                             16.
        Defendants knew or should have known that not conducting proper, regular and
reasonable sweeps and inspections of the premises, especially the freezer isle where
freezers are known to leak, posed a danger to invitees on the premises, and should have
changed, altered, repaired, and/or removed the freezer, cleaned the floor, and/or warned
invitees.



                                                -3-
           Case 1:22-cv-00184-LMM Document 1-1 Filed 01/14/22 Page 6 of 44


'. 1




                                                   17.
              Plaintiff did not know, and could not reasonably have learned, of the danger
       posed by the puddle of transparent water.
                                                   18.
              Defendants' negligence was the actual and proximate cause of PlaintiYf's injuries.


                                       COUNT 2
                        IMPUTED LIABILTY / RESPOIrTDEAT SUPERIOR

                                                   19.
              Plaintiff realleges and incorporates herein the allegations contained in paragraphs
       1 through 18 above as if fully restated.
                                                   20.
              At all times relevant to this action, Defendant Tim Brown was working within the
       course and scope of his einployment with Defendant Kroger, and was responsible for
       inspecting, cleaning, maintaining, operating, and/or managing the area where Plaintiff
       fell. At all times relevant to this action, Defendant Tim Brown was responsible for
       operating and/or managing the premises with the knowledge and authority of Defendant
       Kroger.
                                                   21.
              Defendant Kroger is responsible for the conduct of Defendant Tim Brown under
       the doctrine of respondeat superior, agency or apparent agency, and imputed liability.


                                          COUNT 3
                           1VEGLIGEI\TT TRAINIIeTG & SUPERVISIOlaT

                                                   22.
              Plaintiff realleges and incorporates herein the allegations contained in paragraphs
       1 through 21 above as if fully restated.




                                                         -4-
        Case 1:22-cv-00184-LMM Document 1-1 Filed 01/14/22 Page 7 of 44


~


                                                 23.
           Defendants Kroger was negligent in failing to adopt appropriate policies and
    procedures to make sure that appropriate inspections for hazardous conditions were
    performed on the premises and in failing to train its employees, including Defendant Tim
    Brown, concerning safety procedures for inspecting, operating and maintaining the
    premises.
                                                 24.
           Defendant Kroger was negligent in training and supervising its staff, including
    Defendant Tim Brown.
                                                 25.
           As a result of Defendant Kroger's negligence in training and supervising their
    employees, including Defendant Tim Brown, Plaintiff was injured on the premises.


                                             COUNT 4
                                            DAMAGES

                                                 26.

           Plaintiff realleges and incorporates herein the allegations contained in paragraphs

    1 through 25 above, as if fully restated herein.

                                                 27.

           Plaintiffls injuries and damages resulting from the incident were directly and

    proximately caused by the negligence of Defendants.

                                                 28.

           Plaintiff was injured and has experienced physical and emotional pain and

    suffering as a direct and proximate result of the incident.




                                                       -5-
         Case 1:22-cv-00184-LMM Document 1-1 Filed 01/14/22 Page 8 of 44


.
                                                   29.

            In the future, it is likely Plaintiff will continue to have physical injuries and

    experience physical and emotional pain and suffering as a direct and proximate result of

    the incident.

                                                   cm

            In the future, it is likely Plaintiff will continue to need medical treatment as a

    direct and proximate result of the incident.

                                                   31.

            Plaintiff experienced and will continue to experience pain and suffering as a direct

    and proximate result of the incident.

                                                   32.

            As a result of Defendant's negligence, Plaintiff has incurred reasonable,

    necessary, and continuing medical expenses, and will continue to incur expenses in the

    future, in an amount to be proven at trial.

                                                   33.

           Plaintiff is entitled to recover for her injuries and pain and suffering sustained,

    and all other elements of damages allowed under Georgia law, including but not limited

    to all compensatory, general, special, incidental, consequential, and/or other damages

    permitted. Plaintiff states her intention to seek all compensatory, special, economic,

    consequential, general, and all other damages permissible under Georgia Law, including,

    but not limited to:




                                                     " I
        Case 1:22-cv-00184-LMM Document 1-1 Filed 01/14/22 Page 9 of 44


.
       a)      Personal injuries;
       b)      Past, present and future pain and suffering;
       c)      Disability;
       d)      Disfigurement;
       e)      Mental anguish;
       f)      Loss of capacity for the enjoyment of life;
       g)      Economic losses;
       h)      Incidental expenses;
       i)      Past, present and future medical expenses;
       j)      Lost earnings;
       k)      Loss of earning capacity;
       1)      Attorneys' fees and costs;
       m)      Pertnanent injuries; and
       n)      Consequential damages to be proven at trial.


            WHEREFORE, Plaintiff prays that she has a trial on all issues and judgment
    against Defendants as follows:
       a)      Process issue as provided by law;

       b)      Plaintiff has a trial by jury against Defendants;

       c)      Judgment be awarded to Plaintiff and against Defendants;

       d)      That Plaintiff recovers the full value of past and future medical expenses and

               past and future lost wages in an amount to be proven at trial;

       e)      That Plaintiff recovers for physical and mental pain and suffering in an

               amount to be determined by the enlightened conscience of a jury;

       f)      That Plaintiff recovers punitive damages in an amount to be determined by the

               enlightened conscience of a jury; and


                                                   -7-
   Case 1:22-cv-00184-LMM Document 1-1 Filed 01/14/22 Page 10 of 44




   g)     That Plaintiff recovers such other and further relief as is just and proper.


                                                    /s/ Ramin Kermani-Nejad
                                                    Ramin Kermani-Nejad, Esq.
                                                    KERMANI FIRM
                                                    Georgia Bar No. 669698
                                                    Attorneyfor Plaintiff

KERMANI F+ IRM
1718 Peachtree Street NW, Suite 489
Atlanta, Georgia 30309
Tel: 678.202.0494
Fax: 678.202.0209
rk@kermanillp.com




                                                                    STATE COURT OF
                                                                    DEKALB COUNTY, GA.
                                                                    8/6/2021 1:52 PM
                                                                    E-FILED
                                                                    BY: Siana Smith


                                              -8-
       Case 1:22-cv-00184-LMM Document 1-1 Filed 01/14/22 Page 11 of 44




                      IN THE STATE COURT OF DEKALB COUNTY
                                STATE OF GEORGIA

 DAPHNE BELL,

        Plaintiff,
                                                       CIVIL ACTION FILE NO.
 v.                                                    21A03699

 THE KROGER CO. and
 TIM BROWN,

        Defendants.


  DEFENDANT THE KROGER CO.’S ANSWER AND DEFENSES TO PLAINTIFF’S
                          COMPLAINT


       COMES NOW The Kroger Co., named as a defendant in the Complaint of Plaintiff Daphne

Bell (hereinafter referred to as “Plaintiff”) in the above-styled civil action, by and through

undersigned counsel, and files this, its Answer and Defenses to Plaintiff’s Complaint, further

showing this honorable Court as follows:

                                       FIRST DEFENSE

       For a first defense, The Kroger Co. (“Defendant” or “Kroger”) responds to the enumerated

paragraphs of Plaintiff’s Complaint as follows:

                               PARTIES AND JURISDICTION

                                                  1.

       Admitted.

                                                  2.

       Defendant admits that it operates grocery stores in the State of Georgia, including in

DeKalb County, but denies that DeKalb County is a proper venue for this action. The store where

the litigated incident occurred is not in DeKalb County and neither is Defendant’s registered agent.


                                                  1                                                   STATE COURT OF
                                                                                                 DEKALB COUNTY, GA.
                                                                                                      9/17/2021 5:29 PM
                                                                                                                E-FILED
                                                                                            BY: Shirley Penning-Pipkins
       Case 1:22-cv-00184-LMM Document 1-1 Filed 01/14/22 Page 12 of 44




Defendant admits that its Georgia registered agent’s name and address are correctly identified.

Averments alleged in this paragraph not expressly admitted are denied.

                                                3.

       Defendant admits it is subject to the jurisdiction of this Court but denies that DeKalb

County is a proper venue for this action.

                                                4.

       Defendant Kroger responds to the averments alleged in this paragraph as follows: said

averments are not directed to this defendant and as such, no response is called for.

                                                5.

       Denied.

                                                6.

       Denied.

                                        BACKGROUND

                                                7.

       Defendant’s understanding is that on July 2, 2021, Daphne Bell picked up a prescription

from the Kroger Pharmacy at Kroger Store 427, in Henry County, Georgia. The litigated incident

occurred in Store 427 which is located at 101 Fairview Road, Ellenwood, Georgia 30294. The

averments alleged in this paragraph not expressly admitted are denied.

                                                8.

       Denied.

                                                9.




                                                 2
       Case 1:22-cv-00184-LMM Document 1-1 Filed 01/14/22 Page 13 of 44




       Defendant denies that there was a “puddle on the floor” and denies that there was a need

for a “warning sign indicating there was a puddle on the floor.” Those averments alleged in this

paragraph not expressly admitted are denied.

                                                10.

       Denied.

                                                11.

       Denied.

                                         COUNT 1
                                    PREMISES LIABILITY

                                                12.

       In response to the averments alleged in Paragraph 12 of Plaintiff’s Complaint, Defendant

restates and incorporates by reference its responses set forth in the preceding paragraphs and

reasserts its denials of Plaintiff’s averments alleged in Paragraphs 1-11 of the Complaint.

                                                13.

       Defendant’s understanding is that on July 2, 2021, Daphne Bell picked up a prescription

from the Kroger Pharmacy at Kroger Store 427, in Henry County, Georgia. The litigated incident

occurred in Store 427 which is located at 101 Fairview Road, Ellenwood, Georgia 30294. The

averments alleged in this paragraph not expressly admitted are denied.

                                                14.

       Defendant The Kroger Co. admits that it was subject to applicable legal duties as was

Plaintiff. Defendant denies the averments alleged in this paragraph not expressly admitted.

                                                15.

       Denied.




                                                 3
       Case 1:22-cv-00184-LMM Document 1-1 Filed 01/14/22 Page 14 of 44




                                                16.

       Denied.

                                                17.

       Defendant denies that there was a “puddle” on the floor. Those averments alleged in this

paragraph not expressly admitted are denied.

                                                18.

       Denied.

                                    COUNT 2
                    IMPUTED LIABILITY / RESPONDEAT SUPERIOR

                                                19.

       In response to the averments alleged in Paragraph 19 of Plaintiff’s Complaint, Defendant

restates and incorporates by reference its responses set forth in the preceding paragraphs and

reasserts its denials of Plaintiff’s averments alleged in Paragraphs 1-18 of the Complaint.

                                                20.

       Denied.

                                                21.

       Denied.

                                    COUNT 3
                        NEGLIGENT TRAINING & SUPERVISION

                                                22.

       In response to the averments alleged in Paragraph 22 of Plaintiff’s Complaint, Defendant

restates and incorporates by reference its responses set forth in the preceding paragraphs and

reasserts its denials of Plaintiff’s averments alleged in Paragraphs 1-21 of the Complaint.

                                                23.




                                                 4
       Case 1:22-cv-00184-LMM Document 1-1 Filed 01/14/22 Page 15 of 44




       Denied.

                                                24.

       Denied.

                                                25.

       Denied.

                                            COUNT 4
                                           DAMAGES

                                                26.

       In response to the averments alleged in Paragraph 26 of Plaintiff’s Complaint, Defendant

restates and incorporates by reference its responses set forth in the preceding paragraphs and

reasserts its denials of Plaintiff’s averments alleged in Paragraphs 1-25 of the Complaint.

                                                27.

       Denied.

                                                28.

       Defendant is without knowledge or information sufficient to either admit or deny the

averments alleged in this paragraph of Plaintiff’s Complaint, and said averments therefore stand

as denied by operation of law.

                                                29.

       Defendant is without knowledge or information sufficient to either admit or deny the

averments alleged in this paragraph of Plaintiff’s Complaint, and said averments therefore stand

as denied by operation of law.

                                                30.




                                                 5
       Case 1:22-cv-00184-LMM Document 1-1 Filed 01/14/22 Page 16 of 44




       Defendant is without knowledge or information sufficient to either admit or deny the

averments alleged in this paragraph of Plaintiff’s Complaint, and said averments therefore stand

as denied by operation of law.

                                                31.

       Defendant is without knowledge or information sufficient to either admit or deny the

averments alleged in this paragraph of Plaintiff’s Complaint, and said averments therefore stand

as denied by operation of law.

                                                32.

       Denied.

                                                33.

       Defendant denies the averments alleged in this paragraph, including all subparts.

Plaintiff’s Complaint fails to state a claim upon which relief can be granted for “attorneys’ fees

and costs” or for “punitive damages.”

                                                34.

       Defendant denies the averments alleged in the “WHEREFORE” paragraph following

Paragraph 33 of Plaintiff’s Complaint, including all subparts. Plaintiff’s Complaint fails to state a

claim upon which relief can be granted for “attorneys’ fees and costs” or for “punitive damages.”

                                                35.

       Any averment contained in Plaintiff’s Complaint which has not been expressly admitted

by Defendant in this, its Answer and Defenses, is hereby denied and strict proof thereof is hereby

demanded.

                                      SECOND DEFENSE




                                                 6
        Case 1:22-cv-00184-LMM Document 1-1 Filed 01/14/22 Page 17 of 44




        Plaintiff’s Complaint fails to state a claim upon which relief can be granted, in whole or in

part.

                                        THIRD DEFENSE

        Subject to and in anticipation of discovery, Defendant asserts the defense of failure to

mitigate damages.

                                      FOURTH DEFENSE

        Plaintiff may not recover against Defendant because no act or omission of Defendant or

its employees was the legal cause or the proximate cause of Plaintiff’s alleged injuries and

damages. Defendant did not breach a material duty owing to Plaintiff.

                                        FIFTH DEFENSE

        Subject to and in anticipation of discovery, Defendant asserts the defenses of contributory

and comparative negligence which may bar Plaintiff from recovery or said defenses shall apply

such that any recovery awarded to her must be reduced in proportion to her negligence with respect

to the alleged incident at issue as determined by the fact-finder.

                                        SIXTH DEFENSE

        No action or omission on the part of any Defendant proximately caused the alleged injuries

and damages of Plaintiff, and therefore Plaintiff cannot recover from any defendant.

                                      SEVENTH DEFENSE

        The act(s) or omission(s) of persons or entities other than Defendant was/were the

intervening and/or superseding and proximate cause of Plaintiff’s alleged injuries, therefore

Plaintiff may not recover from any defendant in any sum or manner whatsoever.




                                                  7
       Case 1:22-cv-00184-LMM Document 1-1 Filed 01/14/22 Page 18 of 44




                                      EIGHT DEFENSE

       Defendant did not breach any legal duty owing to Plaintiff, and therefore Plaintiff cannot

recover from Defendant. At all times, Defendant exercised that degree of care required by law;

therefore, Plaintiff may not recover from Defendant in any sum or manner whatsoever.

                                      NINTH DEFENSE

       Defendant asserts the defense of improper venue.

                                      TENTH DEFENSE

       Pending further investigation and discovery, Defendant reserves the right to assert all

defenses available under law.

       WHEREFORE, having fully responded to the averments in Plaintiff’s Complaint,

Defendant The Kroger Co. respectfully prays:

       (a)    That judgment is rendered in favor of Defendants and against Plaintiff;

       (b)    That Defendants be discharged with all costs cast against Plaintiff;

       (c)    That this matter be tried by a jury of twelve persons regarding any issues not

              subject to summary adjudication; and

       (d)    For such other and further relief as is just and proper.


       Respectfully submitted, this the 17th day of September, 2021.

 GRAY, RUST, ST. AMAND,
 MOFFETT & BRIESKE, L.L.P.                          /s/ Jeffrey M. Wasick
 950 East Paces Ferry Road, N.E.                    Matthew G. Moffett
 Suite 1700 – Salesforce Tower Atlanta              Georgia Bar No. 515323
 Atlanta, Georgia 30326                             Jeffrey M. Wasick
 Telephone:    (404) 870-7444                       Georgia Bar No. 778423
 Facsimile:    (404) 870-1072                       Attorneys for Defendants The Kroger Co. and
                                                    Tim Brown




                                                8
       Case 1:22-cv-00184-LMM Document 1-1 Filed 01/14/22 Page 19 of 44




                                  CERTIFICATE OF SERVICE

       This is to certify that I have this day served a copy of the foregoing DEFENDANT THE

KROGER CO.’S ANSWER AND DEFENSES TO PLAINTIFF’S COMPLAINT with the Clerk

of Court using the Odyssey eFileGA electronic filing system, which will send electronic

notification to the following counsel of record:

                                  Ramin Kermani-Nejad, Esq.
                                      KERMANI FIRM
                              1718 Peachtree Street NW, Suite 489
                                    Atlanta, Georgia 30309

       Respectfully submitted, this the 17th day of September, 2021.

 GRAY, RUST, ST. AMAND,
 MOFFETT & BRIESKE, L.L.P.                             /s/ Jeffrey M. Wasick
 950 East Paces Ferry Road, N.E.                       Matthew G. Moffett
 Suite 1700 – Salesforce Tower Atlanta                 Georgia Bar No. 515323
 Atlanta, Georgia 30326                                Jeffrey M. Wasick
 Telephone:    (404) 870-7444                          Georgia Bar No. 778423
 Facsimile:    (404) 870-1072                          Attorneys for Defendants The Kroger Co. and
                                                       Tim Brown




                                                   9
       Case 1:22-cv-00184-LMM Document 1-1 Filed 01/14/22 Page 20 of 44




                      IN THE STATE COURT OF DEKALB COUNTY
                                STATE OF GEORGIA

 DAPHNE BELL,

        Plaintiff,
                                                     CIVIL ACTION FILE NO.
 v.                                                  21A03699

 THE KROGER CO. and
 TIM BROWN,

        Defendants.


 DEFENDANT TIM BROWN’S SPECIAL APPEARANCE ANSWER AND DEFENSES
                   TO PLAINTIFF’S COMPLAINT


       COMES NOW Tim Brown, named as a defendant in the Complaint of Plaintiff Daphne

Bell (hereinafter referred to as “Plaintiff”) in the above-styled civil action, by and through

undersigned counsel, and files this, his Special Appearance Answer and Defenses to Plaintiff’s

Complaint, further showing this honorable Court as follows:

                                       FIRST DEFENSE

       For a first defense, Tim Brown (“Defendant”) responds to the enumerated paragraphs of

Plaintiff’s Complaint as follows:

                                PARTIES AND JURISDICTION

                                                1.

       Admitted.

                                                2.

       Defendant responds to the averments alleged in this paragraph as follows: said averments

are not directed to him and as such, no response is called for. Averments alleged in this paragraph

not expressly admitted are denied.


                                                1                                                    STATE COURT OF
                                                                                                DEKALB COUNTY, GA.
                                                                                                     9/17/2021 5:29 PM
                                                                                                               E-FILED
                                                                                           BY: Shirley Penning-Pipkins
        Case 1:22-cv-00184-LMM Document 1-1 Filed 01/14/22 Page 21 of 44




                                                 3.

       Defendant responds to the averments alleged in this paragraph as follows: said averments

are not directed to him and as such, no response is called for. Averments alleged in this paragraph

not expressly admitted are denied. Defendant denies he is subject to the jurisdiction of this Court

and denies that DeKalb County is a proper venue for this action.

                                                 4.

       Defendant admits he is a resident of Georgia. Defendant denies that service has been

perfected on him, denies that personal jurisdiction exists as to him in this action, and denies that

venue is proper in this court.

                                                 5.

       Denied.

                                                 6.

       Denied.

                                        BACKGROUND

                                                 7.

       Defendant admits he is President of Kroger’s Atlanta Division. Defendant denies that the

grocery store identified in this paragraph was managed by him. As for the remaining averments

in this paragraph, Defendant is without knowledge or information sufficient to form a belief as to

the truth of the averments alleged in this paragraph which therefore stand as denied by operation

of law. The averments alleged in this paragraph not expressly admitted are denied.

                                                 8.




                                                 2
       Case 1:22-cv-00184-LMM Document 1-1 Filed 01/14/22 Page 22 of 44




       Defendant is without knowledge or information sufficient to form a belief as to the truth of

the averments alleged in this paragraph which therefore stand as denied by operation of law. The

averments alleged in this paragraph not expressly admitted are denied.

                                                9.

       Defendant is without knowledge or information sufficient to form a belief as to the truth of

the averments alleged in this paragraph which therefore stand as denied by operation of law. The

averments alleged in this paragraph not expressly admitted are denied.

                                               10.

       Denied.

                                               11.

       Denied.

                                         COUNT 1
                                    PREMISES LIABILITY

                                               12.

       In response to the averments alleged in Paragraph 12 of Plaintiff’s Complaint, Defendant

restates and incorporates by reference its responses set forth in the preceding paragraphs and

reasserts his denials of Plaintiff’s averments alleged in Paragraphs 1-11 of the Complaint.

                                               13.

       Defendant is without knowledge or information sufficient to form a belief as to the truth of

the averments alleged in this paragraph which therefore stand as denied by operation of law. The

averments alleged in this paragraph not expressly admitted are denied.

                                               14.




                                                3
       Case 1:22-cv-00184-LMM Document 1-1 Filed 01/14/22 Page 23 of 44




       Defendant denies the averments in this paragraph as to him. As for Defendant Kroger,

Defendant admits that it was subject to applicable legal duties as was Plaintiff. Defendant denies

the averments alleged in this paragraph not expressly admitted.

                                               15.

       Denied.

                                               16.

       Denied.

                                               17.

       Defendant is without knowledge or information sufficient to form a belief as to the truth of

the averments alleged in this paragraph which therefore stand as denied by operation of law. The

averments alleged in this paragraph not expressly admitted are denied.

                                               18.

       Denied.

                                     COUNT 2
                     IMPUTED LIABILITY / RESPONDEAT SUPERIOR

                                               19.

       In response to the averments alleged in Paragraph 19 of Plaintiff’s Complaint, Defendant

restates and incorporates by reference its responses set forth in the preceding paragraphs and

reasserts his denials of Plaintiff’s averments alleged in Paragraphs 1-18 of the Complaint.

                                               20.

       Denied.

                                               21.

       Denied.

                                            COUNT 3



                                                4
       Case 1:22-cv-00184-LMM Document 1-1 Filed 01/14/22 Page 24 of 44




                         NEGLIGENT TRAINING & SUPERVISION

                                               22.

       In response to the averments alleged in Paragraph 22 of Plaintiff’s Complaint, Defendant

restates and incorporates by reference its responses set forth in the preceding paragraphs and

reasserts his denials of Plaintiff’s averments alleged in Paragraphs 1-21 of the Complaint.

                                               23.

       Denied.

                                               24.

       Denied.

                                               25.

       Denied.

                                            COUNT 4
                                           DAMAGES

                                               26.

       In response to the averments alleged in Paragraph 26 of Plaintiff’s Complaint, Defendant

restates and incorporates by reference its responses set forth in the preceding paragraphs and

reasserts his denials of Plaintiff’s averments alleged in Paragraphs 1-25 of the Complaint.

                                               27.

       Denied.

                                               28.

       Defendant is without knowledge or information sufficient to either admit or deny the

averments alleged in this paragraph of Plaintiff’s Complaint, and said averments therefore stand

as denied by operation of law.

                                               29.



                                                5
       Case 1:22-cv-00184-LMM Document 1-1 Filed 01/14/22 Page 25 of 44




       Defendant is without knowledge or information sufficient to either admit or deny the

averments alleged in this paragraph of Plaintiff’s Complaint, and said averments therefore stand

as denied by operation of law.

                                                30.

       Defendant is without knowledge or information sufficient to either admit or deny the

averments alleged in this paragraph of Plaintiff’s Complaint, and said averments therefore stand

as denied by operation of law.

                                                31.

       Defendant is without knowledge or information sufficient to either admit or deny the

averments alleged in this paragraph of Plaintiff’s Complaint, and said averments therefore stand

as denied by operation of law.

                                                32.

       Denied.

                                                33.

       Defendant denies the averments alleged in this paragraph, including all subparts.

Plaintiff’s Complaint fails to state a claim upon which relief can be granted for “attorneys’ fees

and costs” or for “punitive damages.”

                                                34.

       Defendant denies the averments alleged in the “WHEREFORE” paragraph following

Paragraph 33 of Plaintiff’s Complaint, including all subparts. Plaintiff’s Complaint fails to state a

claim upon which relief can be granted for “attorneys’ fees and costs” or for “punitive damages.”

                                                35.




                                                 6
        Case 1:22-cv-00184-LMM Document 1-1 Filed 01/14/22 Page 26 of 44




        Any averment contained in Plaintiff’s Complaint which has not been expressly admitted

by Defendant in this, his Answer and Defenses, is hereby denied and strict proof thereof is hereby

demanded.

                                       SECOND DEFENSE

        Plaintiff’s Complaint fails to state a claim upon which relief can be granted, in whole or in

part.

                                        THIRD DEFENSE

        Subject to and in anticipation of discovery, Defendant asserts the defense of failure to

mitigate damages.

                                      FOURTH DEFENSE

         Plaintiff may not recover against Defendant because no act or omission of Defendant was

the legal cause or the proximate cause of Plaintiff’s alleged injuries and damages. Defendant did

not breach a material duty owing to Plaintiff. Defendant did not owe any duty whatsoever to

Plaintiff.

                                        FIFTH DEFENSE

        Subject to and in anticipation of discovery, Defendant asserts the defenses of contributory

and comparative negligence which may bar Plaintiff from recovery or said defenses shall apply

such that any recovery awarded to her must be reduced in proportion to her negligence with respect

to the alleged incident at issue as determined by the fact-finder.

                                        SIXTH DEFENSE

        No action or omission on the part of any Defendant proximately caused the alleged injuries

and damages of Plaintiff, and therefore Plaintiff cannot recover from any defendant.




                                                  7
       Case 1:22-cv-00184-LMM Document 1-1 Filed 01/14/22 Page 27 of 44




                                    SEVENTH DEFENSE

       The act(s) or omission(s) of persons or entities other than Defendant was/were the

intervening and/or superseding and proximate cause of Plaintiff’s alleged injuries, therefore

Plaintiff may not recover from any defendant in any sum or manner whatsoever.

                                      EIGHT DEFENSE

       Defendant did not breach any legal duty owing to Plaintiff, and therefore Plaintiff cannot

recover from Defendant. At all times, Defendant exercised that degree of care required by law;

therefore, Plaintiff may not recover from Defendant in any sum or manner whatsoever. Defendant

did not owe any duty to Plaintiff whatsoever.

                                      NINTH DEFENSE

       Defendant asserts the defense of improper venue.

                                      TENTH DEFENSE

       Pending further investigation and discovery, Defendant reserves the right to assert all

defenses available under law.

                                   ELEVENTH DEFENSE

       Defendant asserts the defense of lack of personal jurisdiction.

                                    TWELFTH DEFENSE

       Defendant asserts the defense of insufficiency of process.

                                  THIRTEENTH DEFENSE

       Defendant asserts the defense of insufficiency of service of process.

       WHEREFORE, having fully responded to the averments in Plaintiff’s Complaint,

Defendant The Kroger Co. respectfully prays:

       (a)    That judgment is rendered in favor of Defendants and against Plaintiff;




                                                8
      Case 1:22-cv-00184-LMM Document 1-1 Filed 01/14/22 Page 28 of 44




      (b)    That Defendants be discharged with all costs cast against Plaintiff;

      (c)    That this matter be tried by a jury of twelve persons regarding any issues not

             subject to summary adjudication; and

      (d)    For such other and further relief as is just and proper.


      Respectfully submitted, this the 17th day of September, 2021.

GRAY, RUST, ST. AMAND,
MOFFETT & BRIESKE, L.L.P.                          /s/ Jeffrey M. Wasick
950 East Paces Ferry Road, N.E.                    Matthew G. Moffett
Suite 1700 – Salesforce Tower Atlanta              Georgia Bar No. 515323
Atlanta, Georgia 30326                             Jeffrey M. Wasick
Telephone:    (404) 870-7444                       Georgia Bar No. 778423
Facsimile:    (404) 870-1072                       Attorneys for Defendants The Kroger Co. and
                                                   Tim Brown

 STATE COURT OF
 DEKALB COUNTY, GA.
 9/17/2021 5:29 PM
 E-FILED
 BY: Shirley Penning-Pipkins




                                               9
       Case 1:22-cv-00184-LMM Document 1-1 Filed 01/14/22 Page 29 of 44




                                  CERTIFICATE OF SERVICE

       This is to certify that I have this day served a copy of the foregoing DEFENDANT TIM

BROWN’S SPECIAL APPEARANCE ANSWER AND DEFENSES TO PLAINTIFF’S

COMPLAINT with the Clerk of Court using the Odyssey eFileGA electronic filing system, which

will send electronic notification to the following counsel of record:

                                  Ramin Kermani-Nejad, Esq.
                                      KERMANI FIRM
                              1718 Peachtree Street NW, Suite 489
                                    Atlanta, Georgia 30309

       Respectfully submitted, this the 17th day of September, 2021.

 GRAY, RUST, ST. AMAND,
 MOFFETT & BRIESKE, L.L.P.                         /s/ Jeffrey M. Wasick
 950 East Paces Ferry Road, N.E.                   Matthew G. Moffett
 Suite 1700 – Salesforce Tower Atlanta             Georgia Bar No. 515323
 Atlanta, Georgia 30326                            Jeffrey M. Wasick
 Telephone:    (404) 870-7444                      Georgia Bar No. 778423
 Facsimile:    (404) 870-1072                      Attorneys for Defendants The Kroger Co. and
                                                   Tim Brown




                                                10
       Case 1:22-cv-00184-LMM Document 1-1 Filed 01/14/22 Page 30 of 44




                      IN THE STATE COURT OF DEKALB COUNTY
                                STATE OF GEORGIA

 DAPHNE BELL,

        Plaintiff,
                                                 CIVIL ACTION FILE NO.
 v.                                              21A03699

 THE KROGER CO. and
 TIM BROWN,

        Defendants.


      DEFENDANT THE KROGER CO.’S DEMAND FOR TWELVE PERSON JURY


       COMES NOW The Kroger Co., named as a defendant in the Complaint of Plaintiff Daphne

Bell (hereinafter referred to as “Plaintiff”) in the above-styled civil action, by and through

undersigned counsel, pursuant to O.C.G.A. § 15-12-122(a)(2), and hereby demands that this case

be tried by a jury of twelve persons.

       Respectfully submitted, this the 17th day of September, 2021.


 GRAY, RUST, ST. AMAND,
 MOFFETT & BRIESKE, LLP                         /s/ Jeffrey M. Wasick
 950 East Paces Ferry Road, N.E.                Matthew G. Moffett
 Suite 1700 – Salesforce Tower Atlanta          Georgia Bar No. 515323
 Atlanta, Georgia 30326                         Jeffrey M. Wasick
 Telephone:    (404) 870-7444                   Georgia Bar No. 778423
 Facsimile:    (404) 870-1072                   Attorneys for Defendants The Kroger Co. and
                                                Tim Brown




                                                                                                STATE COURT OF
                                                                                           DEKALB COUNTY, GA.
                                                                                                9/17/2021 5:29 PM
                                                                                                          E-FILED
                                                                                      BY: Shirley Penning-Pipkins
       Case 1:22-cv-00184-LMM Document 1-1 Filed 01/14/22 Page 31 of 44




                                 CERTIFICATE OF SERVICE

       This is to certify that I have this day filed a copy of the foregoing DEFENDANT THE

KROGER CO.’S DEMAND FOR TWELVE PERSON JURY with the Clerk of Court using the

Odyssey eFileGA electronic filing system, which will send electronic notification to the following

counsel of record:

                                  Ramin Kermani-Nejad, Esq.
                                      KERMANI FIRM
                              1718 Peachtree Street NW, Suite 489
                                    Atlanta, Georgia 30309

       Dated this the 17th day of September, 2021.

 GRAY, RUST, ST. AMAND,
 MOFFETT & BRIESKE, LLP                           /s/ Jeffrey M. Wasick
 950 East Paces Ferry Road, N.E.                  Matthew G. Moffett
 Suite 1700 – Salesforce Tower Atlanta            Georgia Bar No. 515323
 Atlanta, Georgia 30326                           Jeffrey M. Wasick
 Telephone:    (404) 870-7444                     Georgia Bar No. 778423
 Facsimile:    (404) 870-1072                     Attorneys for Defendants The Kroger Co. and
                                                  Tim Browm
       Case 1:22-cv-00184-LMM Document 1-1 Filed 01/14/22 Page 32 of 44




                      IN THE STATE COURT OF DEKALB COUNTY
                                STATE OF GEORGIA

 DAPHNE BELL,

        Plaintiff,
                                                 CIVIL ACTION FILE NO.
 v.                                              21A03699

 THE KROGER CO. and
 TIM BROWN,

        Defendants.


        DEFENDANT TIM BROWN’S DEMAND FOR TWELVE PERSON JURY


       COMES NOW Tim Brown, named as a defendant in the Complaint of Plaintiff Daphne

Bell (hereinafter referred to as “Plaintiff”) in the above-styled civil action, by and through

undersigned counsel, pursuant to O.C.G.A. § 15-12-122(a)(2), and hereby demands that this case

be tried by a jury of twelve persons.

       Respectfully submitted, this the 17th day of September, 2021.


 GRAY, RUST, ST. AMAND,
 MOFFETT & BRIESKE, LLP                         /s/ Jeffrey M. Wasick
 950 East Paces Ferry Road, N.E.                Matthew G. Moffett
 Suite 1700 – Salesforce Tower Atlanta          Georgia Bar No. 515323
 Atlanta, Georgia 30326                         Jeffrey M. Wasick
 Telephone:    (404) 870-7444                   Georgia Bar No. 778423
 Facsimile:    (404) 870-1072                   Attorneys for Defendants The Kroger Co. and
                                                Tim Brown




                                                                                                STATE COURT OF
                                                                                           DEKALB COUNTY, GA.
                                                                                                9/17/2021 5:29 PM
                                                                                                          E-FILED
                                                                                      BY: Shirley Penning-Pipkins
       Case 1:22-cv-00184-LMM Document 1-1 Filed 01/14/22 Page 33 of 44




                                 CERTIFICATE OF SERVICE

       This is to certify that I have this day filed a copy of the foregoing DEFENDANT TIM

BROWN’S DEMAND FOR TWELVE PERSON JURY with the Clerk of Court using the Odyssey

eFileGA electronic filing system, which will send electronic notification to the following counsel

of record:

                                  Ramin Kermani-Nejad, Esq.
                                      KERMANI FIRM
                              1718 Peachtree Street NW, Suite 489
                                    Atlanta, Georgia 30309

       Dated this the 17th day of September, 2021.

 GRAY, RUST, ST. AMAND,
 MOFFETT & BRIESKE, LLP                           /s/ Jeffrey M. Wasick
 950 East Paces Ferry Road, N.E.                  Matthew G. Moffett
 Suite 1700 – Salesforce Tower Atlanta            Georgia Bar No. 515323
 Atlanta, Georgia 30326                           Jeffrey M. Wasick
 Telephone:    (404) 870-7444                     Georgia Bar No. 778423
 Facsimile:    (404) 870-1072                     Attorneys for Defendants The Kroger Co. and
                                                  Tim Brown
       Case 1:22-cv-00184-LMM Document 1-1 Filed 01/14/22 Page 34 of 44




                      IN THE STATE COURT OF DEKALB COUNTY
                                STATE OF GEORGIA

 DAPHNE BELL,

        Plaintiff,
                                                   CIVIL ACTION FILE NO.
 v.                                                21A03699

 THE KROGER CO., and TIM BROWN,

        Defendants.


            DEFENDANT THE KROGER CO.’S RULE 5.2 CERTIFICATE OF
                    SERVICE OF DISCOVERY MATERIAL



        This is to certify that I have this day served Defendant The Kroger Co.’s First

Interrogatories to Plaintiff and Defendant The Kroger Co.’s First Requests for Production to

Plaintiff via electronic mail to the following:

                                   Ramin Kermani-Nejad, Esq.
                                       KERMANI FIRM
                               1718 Peachtree Street NW, Suite 489
                                     Atlanta, Georgia 30309



       Respectfully submitted, this the 17th day of September, 2021.

 GRAY, RUST, ST. AMAND,
 MOFFETT & BRIESKE, L.L.P.                        /s/ Jeffrey M. Wasick
 950 East Paces Ferry Road, N.E.                  Matthew G. Moffett
 Suite 1700 – Salesforce Tower Atlanta            Georgia Bar No. 515323
 Atlanta, Georgia 30326                           Jeffrey M. Wasick
 Telephone:    (404) 870-7444                     Georgia Bar No. 778423
 Facsimile:    (404) 870-1072                     Attorneys for Defendant The Kroger Co.




                                                                                                 STATE COURT OF
                                                                                            DEKALB COUNTY, GA.
                                                                                                 9/17/2021 5:29 PM
                                                                                                           E-FILED
                                                                                       BY: Shirley Penning-Pipkins
        Case 1:22-cv-00184-LMM Document 1-1 Filed 01/14/22 Page 35 of 44




                                   CERTIFICATE OF SERVICE

       This is to certify that I have this day electronically filed and served DEFENDANT THE

KROGER CO.’S RULE 5.2 CERTIFICATE OF SERVICE OF DISCOVERY MATERIAL to the

Clerk of Court via Odyssey efileGA e-filing system the foregoing which will send electronic

notification to all counsel of record:

                                   Ramin Kermani-Nejad, Esq.
                                       KERMANI FIRM
                               1718 Peachtree Street NW, Suite 489
                                     Atlanta, Georgia 30309

       Respectfully submitted, this the 17th day of September, 2021.

 GRAY, RUST, ST. AMAND,
 MOFFETT & BRIESKE, L.L.P.                       /s/ Jeffrey M. Wasick
 950 East Paces Ferry Road, N.E.                 Matthew G. Moffett
 Suite 1700 – Salesforce Tower Atlanta           Georgia Bar No. 515323
 Atlanta, Georgia 30326                          Jeffrey M. Wasick
 Telephone:    (404) 870-7444                    Georgia Bar No. 778423
 Facsimile:    (404) 870-1072                    Attorneys for Defendant The Kroger Co.
         Case 1:22-cv-00184-LMM Document 1-1 Filed 01/14/22 Page 36 of 44




TO:            All Judges, Clerks of Court, and Counsel of Record

FROM:          Matthew G. Moffett, Esq.
               GRAY, RUST, ST. AMAND, MOFFETT & BRIESKE, L.L.P.

RE:            Notice of Leave of Absence

DATE:          November 22, 2021


         COMES NOW Matthew G. Moffett and respectfully notifies all Judges before whom he

has cases pending, all affected Clerks of Court, and all Opposing Counsel, that he will be on leave

pursuant to Georgia Uniform Court Rule 16. See the attached Exhibit “A” for the list of pending

cases.

         1.    The period of leave during which time Applicant will be away from the practice of

               law is:

               •         January 10-14, 2022: Family trip;
               •         February 14-18 and February 21, 2022: Business trip;
               •         March 7-10, 2022: FDCC Winter Meeting 2022;
               •         April 20-22 and April 25, 2022: ADTA Annual Meeting;
               •         May 23-27 and May 30, 2022: Family reunion;
               •         June 9-10 and June 13, 2022: GDLA Annual Meeting;
               •         July 25-29, 2022: FDCC Annual Meeting 2022;
               •         August 4-5, August 8-12, August 15-19 and August 22-25, 2022: Family
                         trip; and
               •         November 9-11, November 14-18 and November 21-22, 2022: GDLA Trial
                         Academy.


         2.    All affected judges and opposing counsel shall have ten days from the date of this

               Notice to object to it. If no objections are filed, the leave shall be granted.




                                             Page 1 of 3                                             STATE COURT OF
                                                                                                 DEKALB COUNTY, GA.
                                                                                                    11/22/2021 3:12 PM
                                                                                                               E-FILED
                                                                                                      BY: Kelly M Flack
      Case 1:22-cv-00184-LMM Document 1-1 Filed 01/14/22 Page 37 of 44




      Respectfully submitted, this the 22nd day of November, 2021.

GRAY, RUST, ST. AMAND,                        /s/ Matthew G. Moffett
MOFFETT & BRIESKE, L.L.P.                     Matthew G. Moffett
950 East Paces Ferry Road, N.E.               Georgia Bar No. 515323
Suite 1700 – Salesforce Tower Atlanta
Atlanta, Georgia 30326
Telephone:    (404) 870-7390
Facsimile:    (404) 870-1030




                                             STATE COURT OF
                                             DEKALB COUNTY, GA.
                                             11/22/2021 3:12 PM
                                             E-FILED
                                             BY: Kelly Flack




                                        Page 2 of 3
       Case 1:22-cv-00184-LMM Document 1-1 Filed 01/14/22 Page 38 of 44




                                CERTIFICATE OF SERVICE

       This is to certify that I have on this date served a true and correct copy of the foregoing

Notice of Leave of Absence with the Clerk of Court, all Judges and counsel of record via Odyssey

eFileGA and/or via the United States Postal Service, with adequate postage affixed thereto for the

case listed on the attached “Exhibit A.”

       Respectfully submitted, this 22nd day of November, 2021.


                                                  /s/ Matthew G. Moffett
                                                  Matthew G. Moffett
                                                  Georgia Bar No. 515323
 GRAY, RUST, ST. AMAND,
 MOFFETT & BRIESKE, L.L.P.
 950 East Paces Ferry Road, N.E.
 Suite 1700 – Salesforce Tower Atlanta
 Atlanta, Georgia 30326
 Telephone:    (404) 870-7390
 Facsimile:    (404) 870-1030




                                           Page 3 of 3
            Case 1:22-cv-00184-LMM Document 1-1 Filed 01/14/22 Page 39 of 44
                                              Matthew G. Moffett, Esq.
                                            Leave of Absence - Exhibit A
                                        Cases Listed by Court and Alphabetically

State Court of DeKalb County              Judge                                    Opposing Counsel


Daphne Bell v. The Kroger Co. and Tim     Honorable Johnny Panos                   Ramin Kermani-Nejad, Esq.
Brown                                     Judge, State Court of DeKalb County      KERMANI FIRM
                                          Dekalb County Courthouse                 1718 Peachtree St. NW, Ste 489
21A03699                                  Courtroom A, 2nd Floor
                                                                                   Atlanta, GA 30309
                                          556 N. McDonough Street
Our File No. 3558.0506                    Suite 2230                               Email: rk@kermanillp.com
                                          Decatur, GA 30030




                                                      Page 1 of 1
        Case 1:22-cv-00184-LMM Document 1-1 Filed 01/14/22 Page 40 of 44




                       IN THE STATE COURT OF DEKALB COUNTY
                                 STATE OF GEORGIA

 DAPHNE BELL,

         Plaintiff,
                                                  CIVIL ACTION FILE NO.
 v.                                               21A03699

 THE KROGER CO., and TIM BROWN,

         Defendants.


      DEFENDANT THE KROGER CO.’S RULE 5.2 CERTIFICATE OF SERVICE OF
                        DISCOVERY RESPONSES


        This is to certify that I have this day served Defendant The Kroger Co.’s Responses and

Objections to Plaintiff’s First Requests for Admission, Defendant The Kroger Co.’s Responses

and Objections to Plaintiff’s First Continuing Interrogatories, and Defendant The Kroger Co.’s

Responses and Objections to Plaintiff’s First Requests for Production via electronic mail to the

following:


                                 Ramin Kermani-Nejad, Esq.
                                     KERMANI FIRM
                             1718 Peachtree Street NW, Suite 489
                                   Atlanta, Georgia 30309
                                    rk@kermanillp.com

        Respectfully submitted, this the 24th day of November, 2021.

 GRAY, RUST, ST. AMAND,
 MOFFETT & BRIESKE, L.L.P.                       /s/ Jeffrey M. Wasick
 950 East Paces Ferry Road, N.E.                 Matthew G. Moffett
 Suite 1700 – Salesforce Tower Atlanta           Georgia Bar No. 515323
 Atlanta, Georgia 30326                          Jeffrey M. Wasick
 Telephone:    (404) 870-7444                    Georgia Bar No. 778423
 Facsimile:    (404) 870-1072                    Attorneys for Defendant The Kroger Co.




                                                                                                STATE COURT OF
                                                                                            DEKALB COUNTY, GA.
                                                                                               11/24/2021 3:41 PM
                                                                                                          E-FILED
                                                                                                BY: Patricia Harris
        Case 1:22-cv-00184-LMM Document 1-1 Filed 01/14/22 Page 41 of 44




                                   CERTIFICATE OF SERVICE

       This is to certify that I have this day electronically filed and served DEFENDANT THE

KROGER CO.’S RULE 5.2 CERTIFICATE OF SERVICE OF DISCOVERY RESPONSES to

the Clerk of Court via Odyssey efileGA e-filing system the foregoing which will send electronic

notification to all counsel of record:

                                   Ramin Kermani-Nejad, Esq.
                                       KERMANI FIRM
                               1718 Peachtree Street NW, Suite 489
                                     Atlanta, Georgia 30309

       Respectfully submitted, this the 24th day of November, 2021.

 GRAY, RUST, ST. AMAND,
 MOFFETT & BRIESKE, L.L.P.                       /s/ Jeffrey M. Wasick
 950 East Paces Ferry Road, N.E.                 Matthew G. Moffett
 Suite 1700 – Salesforce Tower Atlanta           Georgia Bar No. 515323
 Atlanta, Georgia 30326                          Jeffrey M. Wasick
 Telephone:    (404) 870-7444                    Georgia Bar No. 778423
 Facsimile:    (404) 870-1072                    Attorneys for Defendant The Kroger Co.




                                                                                  STATE COURT OF
                                                                                  DEKALB COUNTY, GA.
                                                                                  11/24/2021 3:41 PM
                                                                                  E-FILED
                                                                                  BY: Patricia Harris
              Case 1:22-cv-00184-LMM Document 1-1 Filed 01/14/22 Page 42 of 44

                 IN THE STATE COURT OF DEKALB COUNTY
                            STATE OF GEORGIA
__________________________________________________________________________
                                                       :
DAPHNE BELL                                            :
                                                       :    CIVIL ACTION
                       Plaintiff(s)                    :    FILE NO. 21A03699
v.                                                     :
                                                       :
THE KROGER CO., AND                                    :
TIM BROWN                                              :
                                                       :
                      Defendant(s)                     :
________________________________________________________________________________________________

                       DEFENDANT(S) THE KROGER CO'S
          RULE 5.2 CERTIFICATE OF SERVICE OF DISCOVERY MATERIAL

       The undersigned hereby certifies, pursuant to Uniform Rule of State Court 5.2, that the following

non-parties were served with document requests pursuant to O.C.G.A. § 9-11-34(c), and that copies of said

discovery were served upon all parties of record in this action:

South Atlanta Neurosurgery - Atlanta
105 Collier Rd NW
Atlanta, GA 30309

Henry County Fire Department - McDonough
10 South Zack Hinton Parkway
Mcdonough, GA 30253

Law Office of W. Bryant Green III P.C
303 Peachtree St NE suite 4100
Atlanta, GA 30308

JMM83 ENTERPRISES, LLC
1278 CUSTER AVENUE
Atlanta, GA 30316

Walmart Pharmacy
702 SW 8th Street
Bentonville, AR 72716

Costco Wholesale Corporation
c/o CT Corporation System 289 Culver St.
Lawrenceville, GA 30046

CVS Pharmacy
1 CVS Dr
Woonsocket, RI 02895

The Kroger Co
1014 Vine Street                                                                                  STATE COURT OF
                                                                                              DEKALB COUNTY, GA.
                                                                                                11/30/2021 10:21 AM
                                                                                                            E-FILED
                                                                                                   BY: Kelly M Flack
              Case 1:22-cv-00184-LMM Document 1-1 Filed 01/14/22 Page 43 of 44
Cincinnati, OH 45202

Publix Pharmacy
Attn: Privacy Officer 3300 Publix Corporate Pkwy
Lakeland, FL 33811

Rite Aid Pharmacy
1901 E. Voorhees St. MS 735
Danville, IL 61834

Target Pharmacy
33 S. 6th Street Attn: CC-3610
Minneapolis, MN 55402

Walgreens
1901 E. Voorhees St. MS 735
Danville, IL 61834

Quest Diagnostics
1777 Montreal Circle
Tucker, GA 30084

LabCorp
P.O. Box 1588
Burlington, NC 27216


        Respectfully submitted on 11/30/2021

GRAY, RUST, ST. AMAND,                             /s/ Jeffrey M. Wasick
MOFFETT & BRIESKE, LLP                             Matthew G. Moffett
950 East Paces Ferry Road, NE                      Georgia State Bar No. 515323
Suite 1700 - Salesforce Tower Atlanta              Jeffrey M. Wasick
Atlanta, Georgia 30326                             Georgia State Bar No. 778423
Telephone: (404) 870-7373                          Attorneys for Defendant(s) The Kroger Co.
Facsimile:    (404) 870-7374




                                 STATE COURT OF
                                 DEKALB COUNTY, GA.
                                 11/30/2021 10:21 AM
                                 E-FILED
                                 BY: Kelly Flack
           Case 1:22-cv-00184-LMM Document 1-1 Filed 01/14/22 Page 44 of 44


                                    CERTIFICATE OF SERVICE


       The undersigned hereby certifies, pursuant to O.C.G.A. § 9-11-5, that the foregoing DEFENDANT

THE KROGER CO'S, RULE 5.2 CERTIFICATE OF SERVICE OF DISCOVERY MATERIAL is

being filed with the Clerk of Court using the Court’s electronic filing-and-service system, which will send

electronic notification to all parties having appeared of record in this action:

                                         Ramin Kermani-Nejad, Esq.
                                             KERMANI FIRM
                                     1718 Peachtree Street NW, Suite 489
                                             Atlanta, GA 30309



         Respectfully submitted on 11/30/2021

GRAY, RUST, ST. AMAND,                                   /s/ Jeffrey M. Wasick
MOFFETT & BRIESKE, LLP                                   Matthew G. Moffett
950 East Paces Ferry Road, NE                            Georgia State Bar No. 515323
Suite 1700 - Salesforce Tower Atlanta                    Jeffrey M. Wasick
Atlanta, Georgia 30326                                   Georgia State Bar No. 778423
Telephone:     (404) 870-7373                            Attorneys for Defendant The Kroger Co.
Facsimile:     (404) 870-7374
